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                      JURY VERDICT FORM


   Claim 1: Retaliation by Defendant Boosinger (2017 Evaluation]
                      (Jury Instructions: Pages 7-8)

Did Dr. Stern prove by a preponderance of the evidence that:

1. Dr. Stern spoke out against the alleged clustering of                  NO
   student athletes in the Public Administration major?

2. Dr. Boosinger decided that Dr. Stern would not receive                 NO
   an annual evaluation in 2017?

3. Dr. Boosinger acted under color of state law?              YES
                                                                          CE)
4. Dr. Stern's statements about the alleged clustering of     YES         NO
   student athletes in the Public Administration major
   were a motivating factor in Dr. Boosinger's decision
   that Dr. Stern would not receive an annual evaluation
   in 2017?

5. Dr. Boosinger' s action damaged Dr. Stern?                 YES         NO

If you answered 'No' for any question, move to Claim 2 on page 3.
If you answered 'Yes' on all five questions, answer the question below.

Did Dr. Boosinger prove by a preponderance of the evidence that:

1. Dr. Boosinger would have decided against giving Dr.        YES         NO
   Stern an annual evaluation in 2017 even if Dr.
   Boosinger had not considered Dr. Stern's speech about
   the alleged clustering?


If you answered 'Yes', move to Claim 2 on page 3.
If you answered 'No,' answer the questions about Damages on page 2.


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                               Claim 1: Damages
                         (Jury Instructions: Pages 13-14)


A. Compensatory Damages


What are Dr. Stern's lost wages and benefits
from the date of Dr. Boosinger's action to today?


Enter a dollar amount:

If you awarded $0, move to the nominal damages question below.
If you awarded more than $0, move to the punitive damages question.

B. Nominal Damages

1. Do you find that Dr. Stern is entitled to $1 in            YES     NO
   nominal dam.ages?

C. Punitive Damages
Did Dr. Stern prove by a preponderance of the evidence that:

1. Dr. Boosinger acted with malice or reckless indifference   YES     NO
   to Dr. Stern's federally protected rights?


If you answered 'No', move to Claim 2 on page 3.
If you answered 'Yes,' move to the punitive damages question below.



Enter a dollar amount of punitive dam.ages (if any):




                                        2
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    Claim 2: Retaliation ·by Defendant Aistrup [Removal as Chair]
                        (Jury Instructions: Pages 9-10)
                                             ~-------------------
Did Dr. Stern prove by a preponderance of the evidence that:

1. Dr. Stern spoke out against the alleged clustering of     ~            NO
   student athletes in the Public Administration major?

2. Dr. Aistrup removed Dr. Stern as Chair of the                          NO
   Department of Economics?

3. Dr. Aistrup acted under color of state law?                            NO

4. Dr. Stern's statements about the alleged clustering of                 NO
   student athletes in the Public Administration major
   were a motivating factor in Dr. Aistrup's decision
   to remove Dr. Stern as Chair of the Department
   of Economics?

5. Dr. Aistrup's action damaged Dr. Stern?                                NO


If you answered 'No' for any question, move to Claim 3 on page 5.
If you answered 'Yes' on all five questions, answer the question below.

Did Dr. Aistrup prove by a preponderance of the evidence that:

1. Dr. Aistrup would have removed Dr. Stern as Chair
                                                              YES ~
   of the Department of Economics even if Dr. Aistrup
   had not considered Dr. Stern's speech about the
   alleged clustering?
If you answered 'Yes', move to Claim 3 on page 5.
If you answered 'No,' answer the questions about Damages on page 4.




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                               Claim 2: Damages
                         (Jury Instructions: Pages 13-14)


A. Compensatory Damages


What are Dr. Stern's lost wages and benefits
from the date of Dr. Aistrup's action to today?


Enter a dollar amount:

If you awarded $0, move to the nominal damages question below.
If you awarded more than $0, move to the punitive damages question.

B. Nominal Damages

1. Do you find that Dr. Stern is entitled to $1 in          YES       NO
   nominal damages?

C. Punitive Damages
Did Dr. Stern prove by a preponderance of the evidence that:

1. Dr. Aistrup acted with malice or reckless indifference   ~         NO
  to Dr. Stern's federally protected rights?


If you answered 'No', move to Claim 3 on page 5.
If you answered 'Yes,' move to the punitive damages question below.



Enter a dollar amount of punitive damages (if any):




                                        4
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   Claim 3: Retaliation by Defendant Aistrup [Raise+ Supplement]
                     (Jury Instructions: Pages 11-13)

Did Dr. Stern prove by a preponderance of the evidence that:

1. Dr. Stern spoke out against the alleged clustering of    ~             NO
   student athletes in the Public Administration major?

2. Dr. Aistrup denied Dr. Stern a raise for the 2018-19                   NO
   academic year and/or a one-time merit supplement
   in December 2018?

3. Dr. Aistrup acted under color of state law?              ~             NO

4. Dr. Stern's statements about the alleged clustering of   {y£s7         NO
   student athletes in the Public Administration major      l:7
   were a motivating factor in Dr. Aistrup's decision
   to deny Dr. Stern a raise for the 2018-19 academic
   year and/or a one-time merit supplement in
   December 2018?

5. Dr. Aistrup's action damaged Dr. Stern?                                NO


If you answered 'No' for any question, move to Claim 3 on page 7.
If you answered 'Yes' on all five questions, answer the question below.

Did Dr. Aistrup prove by a preponderance of the evidence that:

1. Dr. Aistrup would have denied Dr. Stern a raise            YES
  for the 2018-19 academic year and a one-time
  merit supplement in December 2018 even if Dr.
  Aistrup had not considered Dr. Stern's speech
  about the alleged clustering?


If you answered 'Yes', move to Claim 3 on page 7.
If you answered 'No,' answer the questions about Damages on page 6.



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                  Claim 3: Damages against Dr. Aistrup
                      (Jury Instructions: Pages 13-14)


A. Compensatory Damages


What are Dr. Stern's lost wages and benefits
from the date of Dr. Aistrup's action to today?


Enter a dollar amount:

If you awarded $0, move to the nominal damages question below.
If you awarded more than $0, move to the punitive damages question.

B. Nominal Damages

1. Do you find that Dr. Stern is entitled to $1 in          YES       NO
   nominal damages?

C. Punitive Damages
Did Dr. Stern prove by a preponderance of the evidence that:

1. Dr. Aistrup acted with malice or reckless indifference   ~         NO
   to Dr. Stern's federally protected rights?               ~

If you answered 'No', move to Claim 3 on page 7.
If you answered 'Yes,' move to the punitive damages question below.



Enter a dollar amount of punitive damages (if any):




                                       6
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 Claim 3: Retaliation by Defendant Hardgrave [Raise + Supplement]
                     (Jury Instructions: Pages 10-12)

Did Dr. Stern prove by a preponderance of the evidence that:

1. Dr. Stern spoke out against the alleged clustering of
   student athletes in the Public Administration major?
                                                            ~              NO


2. Dr. Hardgrave denied Dr. Stern a raise for the
   2018-19 academic year and/or a one-time merit
                                                            c§)            NO

   supplement in December 2018?

3. Dr. Hardgrave acted under color of state law?            YES
                                                                       cEJ
4. Dr. Stern's statements about the alleged clustering of   YES            NO
   student athletes in the Public Administration major
   were a motivating factor in Dr. Hardgrave's decision
   to deny Dr. Stern a raise for the 2018-19 academic
   year and/or a one-time merit supplement in
   December 2018?

5. Dr. Hardgrave's action damaged Dr. Stern?                YES            NO

If you answered 'No' for any question, sign and date the form on page 9.
If you answered 'Yes' on all five questions, answer the question below.

Did Dr. Hardgrave prove by a preponderance of the evidence that:

1. Dr. Hardgrave would have denied Dr. Stern a raise        YES            NO
  for the 2018-19 academic year and a one-time
  merit supplement in December 2018 even if Dr.
  Hardgrave had not considered Dr. Stern's speech
  about the alleged clustering?


If you answered 'Yes', sign and date the form on page 9.
If you answered 'No,' answer the questions about Damages on page 8.



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                Claim 3: Damages against Dr. Hardgrave
                     (Jury Instructions: Pages 13-14)


A. Compensatory Damages


What are Dr. Stern's lost wages and benefits
from the date of Dr. Hardgrave's action to today?


Enter a dollar amount:

If you awarded $0, move to the nominal damages question below.
If you awarded more than $0, move to the punitive damages question.

B. Nominal Damages

1. Do you find that Dr. Stern is entitled to $1 in          YES       NO
   nominal damages?

C. Punitive Damages
Did Dr. Stern prove by a preponderance of the evidence that:

1. Dr. Hardgrave acted with malice or reckless              YES       NO
  indifference to Dr. Stern's federally protected rights?


If you answered 'No', sign and date the form on the next page.
If you answered 'Yes,' move to the punitive damages question below.



Enter a dollar amount of punitive damages (if any):




                                       8
f   a   I   r


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                So SAY WE ALL.




                                                        Foreperson's Signature




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